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NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 KYLE,
                                                      Civil Action No. 15-5193 (ES) (JAD)
      Plaintiff,

 v.                                                                    ORDER

 SELECTIVE SERVICE SYSTEM et al

      Defendants.


        This matter having come before the Court on the motion of the Law Firm of Michael J.

Daher ("the Movant"), attorneys for Plaintiff, for the pro hac vice admission of Roy Den Hollander,

Esq. pursuant to L. Civ. R. 101.1; and the Court having considered the submissions in support of

the motion, which reflect that Roy Den Hollander, Esq. satisfies the requirements set forth in Rule

101.l(c) of the Local Rules of the United States District Court for the District of New Jersey; and

there being no opposition to this motion; and for good cause shown,

        IT IS ON THIS 17th day of August, 2015

        ORDERED that the application for the pro hac vice admission of Roy Den Hollander,

Esq. (ECF No. 3), is granted; and it is further

        ORDERED that Roy Den Hollander, Esq., a member in good standing of the Bar of the

State of New York, be permitted to appear pro hac vice in the above-captioned matter pursuant to

Local Civil Rule 101.l(c); and it is further

        ORDERED that Roy Den Hollander, Esq. shall comply with Local Civil Rule 101.l(c)

and abide by all rules of this Court, including all disciplinary rules, and shall notify the Court

immediately of any matter affecting his standing at the bar of any court; and it is further
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          ORDERED that Roy Den Hollander, Esq. is deemed to consent to the appointment of the

Clerk of the Court as the agent upon whom service of process may be made for all actions that

may arise from his participation in this matter; and it is further

          ORDERED that the Movant shall (a) be attorneys ofrecord in this case in accordance with

L. Civ. R. 101.l(c); (b) be served all papers in this action and such service shall be deemed

sufficient service upon Roy Den Hollander, Esq. (c) sign (or arrange for an attorney admitted to

practice in the United States District Court for the District of New Jersey to sign) all pleadings,

briefs, and other papers submitted to this Court; (d) appear at all proceedings unless expressly

excused by the Court; and (e) be responsible for the conduct of the cause and Roy Den Hollander,

Esq. in this matter; and it is further

          ORDERED that Roy Den Hollander, Esq. shall make all required payments to the New

Jersey Lawyers' Fund for Client Protection in accordance with Local Civil Rule 101.l(c)(2) and

New Jersey Court Rule 1:28-2(a); and it is further

          ORDERED that, if he has not already done so in connection with this action, Roy Den

Hollander, Esq. shall pay $150.00 to the Clerk of the United States District Court for the District

of New Jersey for admission pro hac vice in accordance with L. Civ. R. 101.l(c)(3); and it is

further

          ORDERED that Roy Den Hollander, Esq. shall be deemed to have agreed to take no fee

in any tort case in excess of New Jersey Court Rule 1:21-7 governing contingent fees.




                                                     Hon. Joseph A. Dickson, U.S.M.J.
